Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 1 of 28




          Composite Exhibit A
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 2 of 28




                          DECLARATION OF THOMAS P. BURKE JR.

          I, Thomas P. Burke Jr., declare as follows:

          1.      I am a partner at the law firm of Pietz & Shahriari, LLP, counsel for Defendants

   Shein Distribution Corporation and Zoetop Business Co., Ltd. in the above-captioned matter. I

   am a duly licensed attorney admitted to practice in the State of California. I am a member in

   good standing of the State Bar of California and my application to appear pro hac vice in this

   matter is forthcoming. I have personal knowledge of the facts set forth in this declaration, and if

   called to testify as a witness, could and would do so competently.

          2.      I submit this declaration in support of Defendant Zoetop Business Co., Ltd.’s

   Motion to Dismiss Pursuant to Rule 12(b)(5) or, in the Alternative, to Quash Service in the

   following cases: Fichera v. Zoetop Business Co., Ltd., et al., Case No. 1:23-cv-20417-RAR;

   Osinnowo v. Zoetop Business Co., Ltd., et al., Case No. 1:23-cv-20444-KMW; G&S Prints Pte.

   Ltd. v. Zoetop Business Co., Ltd., et al., Case No. 1:23-cv-20471-BB; Minoza v. Zoetop Business

   Co., Ltd., et al., Case No. 1:23-cv-20434-CMA; and Golebiowski v. Zoetop Business Co., Ltd., et

   al., Case No. 1:23-cv-20433-KMW.

          3.      Attached hereto as Exhibit 1 is a true and correct copy of an email chain between

   counsel for Defendants and counsel for Plaintiff in the cases identified in the preceding

   paragraph, with certain portions of the February 6, 2023 email from Morgan Pietz redacted on

   the grounds that they pertain to confidential settlement communications. (The highlighting that

   appears in this chain was added by me in my March 3, 2023 email.) On February 6, 2023, my

   colleague Morgan Pietz offered to waive service on Defendants. On February 7, 2023, counsel

   for Plaintiff indicated that she would send the waiver forms the following day. On March 3,

   2023, I wrote to counsel for Plaintiff, reiterating our offer to waive service on Zoetop. On March

   17, 2023, I wrote to counsel for Plaintiff, advising them that Plaintiff’s service on Zoetop was

   not valid under Federal Rule of Civil Procedure, Rule 4, and once again offered to waive service.

   I have received no response to my email of March 17, 2023.
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 3 of 28




          4.      Attached hereto as Exhibit 2 is a true and correct copy of Zoetop Business Co.,

   Ltd.’s Corporate Disclosure Statement filed in the case Flynn v. Zoetop Business Co., Ltd., et al.,

   Case No. 1:22-cv-23604-KMM on December 12, 2022 as ECF No. 10.

          5.      Attached hereto as Exhibit 3 is a true and correct copy of Defendants’ Answer and

   Affirmative Defenses filed in the case Flynn v. Zoetop Business Co., Ltd., et al., Case No. 1:22-

   cv-23604-KMM on January 23, 2023 as ECF No. 17.

          6.      Attached hereto as Exhibit 4 is a true and correct copy of Shein Distribution

   Corporation’s July 29, 2022 Statement of Information, obtained from the California Secretary of

   State website on March 22, 2023 at the following URL:

   https://bizfileonline.sos.ca.gov/api/report/GetImageByNum/24214018823909504709402612904

   1021114120026051231

          7.      Attached hereto as Exhibit 5 is a true and correct copy of Shein Distribution

   Corporation’s July 29, 2022 Statement of Information, obtained from the California Secretary of

   State website on March 22, 2023 at the following URL:

   https://bizfileonline.sos.ca.gov/api/report/GetImageByNum/18601018320002322921901301812

   3109019166190084160



          I declare under penalty of perjury under the laws of the United States that the foregoing is

   true and correct.

          Executed this 22nd day of March 2023 in Los Angeles, California.


                                                __________________________________
                                                Thomas P. Burke Jr.
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 4 of 28




                           Exhibit 1
   Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 5 of 28


Thomas Burke

From:                    Thomas Burke
Sent:                    Friday, March 17, 2023 1:45 PM
To:                      Layla Nguyen; Morgan Pietz; Admin; Mandy Chen
Cc:                      Joel Rothman; Lindsey Colyer; Lena Carballo Alvisa; Oliver Ruiz; Cleo Suero
Subject:                 RE: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher
                         Golebiowski, G&S Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera


Layla and Joel – I inadvertently omitted the Minoza case from my list below. Please be advised that my email below
should apply to that case as well. We hope to hear back from you soon.

Tom Burke
PIETZ & SHAHRIARI, LLP

This transmission is from a law firm and may contain information that is privileged, confidential, and protected by the attorney-client or
attorney work product privileges. If you are not the addressee, note that any disclosure, copying, distribution or use of the contents of this
message is prohibited. If you have received this transmission in error, please destroy it and notify us immediately at the telephone number
above.


From: Thomas Burke
Sent: Friday, March 17, 2023 10:15 AM
To: Layla Nguyen <layla.nguyen@sriplaw.com>; Morgan Pietz <morgan@pstrials.com>; Admin <admin@pstrials.com>;
Mandy Chen <mandy@pstrials.com>
Cc: Joel Rothman <joel@sriplaw.com>; Lindsey Colyer <lindsey.colyer@sriplaw.com>; Lena Carballo Alvisa
<lena.carballo@sriplaw.com>; Oliver Ruiz <oruiz@malloylaw.com>; Cleo Suero <CSuero@malloylaw.com>
Subject: RE: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher Golebiowski, G&S
Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera

Layla and Joel,

Based on the declarations of service filed by your office, Zoetop’s responses to the complaints in the Fichera, Osinnowo,
G&S, and Golebiowski cases are due next week. Our position, for the reasons explained below, is that plaintiffs’ service
on Zoetop is not valid under Rule 4. Please advise by the end of today if you would like to reconsider our offer and effect
service through a waiver in these cases.

We are unaware of any other instances where Zoetop has been served at the Alameda Street address. If you contend
that Zoetop has been effectively served at that address before, please send along case numbers and copies of the proofs
of service, and we will review them. Please be advised, though, that just because Zoetop may have waived this issue in
the past does not mean it will do so in these cases.

Again, I reiterate Zoetop’s willingness to waive service of the summonses (Form AO 399) in these cases. Please let us
know by the end of today if you and your clients are willing to send waiver forms. If not, we will commence work on
challenging the validity of the service in these cases by formal motion.

Thank you,

Tom Burke
PIETZ & SHAHRIARI, LLP

This transmission is from a law firm and may contain information that is privileged, confidential, and protected by the attorney-client or
attorney work product privileges. If you are not the addressee, note that any disclosure, copying, distribution or use of the contents of this
                                                                        1
   Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 6 of 28
message is prohibited. If you have received this transmission in error, please destroy it and notify us immediately at the telephone number
above.


From: Layla Nguyen <layla.nguyen@sriplaw.com>
Sent: Monday, March 6, 2023 7:42 AM
To: Thomas Burke <tom@pstrials.com>; Morgan Pietz <morgan@pstrials.com>; Admin <admin@pstrials.com>; Mandy
Chen <mandy@pstrials.com>
Cc: Joel Rothman <joel@sriplaw.com>; Lindsey Colyer <lindsey.colyer@sriplaw.com>; Lena Carballo Alvisa
<lena.carballo@sriplaw.com>; Oliver Ruiz <oruiz@malloylaw.com>
Subject: RE: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher Golebiowski, G&S
Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera

Hi Thomas,

I did offer to send the waiver forms originally but my clients did not authorize it, so I was instructed to go forward with
personal service of process.

We successfully served Zoetop last week in the pending cases, just waiting for our process server to send over the proof
of service for filing. We successfully served Zoetop at that Alameda address previously without any issue.




Florida | Los Angeles | New York | Atlanta | Nashville
Layla Nguyen
Associate
21301 Powerline Road, Suite 100
Boca Raton, Florida 33433
Main: (561) 404‐4350
Direct: (561) 826‐6924
layla.nguyen@sriplaw.com
www.sriplaw.com

From: Thomas Burke <tom@pstrials.com>
Sent: Friday, March 3, 2023 3:56 PM
To: Layla Nguyen <layla.nguyen@sriplaw.com>; Morgan Pietz <morgan@pstrials.com>; Admin <admin@pstrials.com>;
Mandy Chen <mandy@pstrials.com>
Cc: Joel Rothman <joel@sriplaw.com>; Lindsey Colyer <lindsey.colyer@sriplaw.com>; Lena Carballo Alvisa
<lena.carballo@sriplaw.com>; Oliver Ruiz <oruiz@malloylaw.com>
Subject: RE: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher Golebiowski, G&S
Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera

Layla,

We understand your office has been attempting to personally serve Zoetop and/or its agents. You had previously
represented that you would send waiver forms for both defendants in these cases. That didn’t happen for SDC, and
you’ll note that SDC answered the Fichera, Osinnowo, G&S, and Golebiowski complaints yesterday. If you would like to
avoid the hassle and expense of serving Zoetop, our offer remains open.


                                                                     2
   Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 7 of 28

If you decline to send the waiver forms, I’ll remind you that Zoetop is a Hong Kong entity, and you will be required to
effect service consistent with Fed. R. Civ. P. 4(h). The Alameda St. address listed on the summonses you’ve prepared is
not Zoetop’s address; rather, SDC is located on Alameda St., though its suite number is 340.

Sincerely,

Tom Burke
PIETZ & SHAHRIARI, LLP

This transmission is from a law firm and may contain information that is privileged, confidential, and protected by the attorney-client or
attorney work product privileges. If you are not the addressee, note that any disclosure, copying, distribution or use of the contents of this
message is prohibited. If you have received this transmission in error, please destroy it and notify us immediately at the telephone number
above.


From: Layla Nguyen <layla.nguyen@sriplaw.com>
Sent: Tuesday, February 7, 2023 5:49 AM
To: Morgan Pietz <morgan@pstrials.com>; Thomas Burke <tom@pstrials.com>; Admin <admin@pstrials.com>; Mandy
Chen <mandy@pstrials.com>
Cc: Joel Rothman <joel@sriplaw.com>; Lindsey Colyer <lindsey.colyer@sriplaw.com>; Lena Carballo Alvisa
<lena.carballo@sriplaw.com>; Oliver Ruiz <oruiz@malloylaw.com>
Subject: Re: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher Golebiowski, G&S
Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera

I’m out of office today but will send the waiver forms tomorrow.



Florida | Los Angeles | New York | Atlanta | Nashville
Layla Nguyen
Associate
21301 Powerline Road, Suite 100
Boca Raton, Florida 33433
Main: (561) 404‐4350
Direct (561) 826‐6925
layla.nguyen@sriplaw.com
www.sriplaw.com
Sent from my iPhone

From: Morgan Pietz <morgan@pstrials.com>
Sent: Monday, February 6, 2023 9:14:44 PM
To: Layla Nguyen <layla.nguyen@sriplaw.com>; Thomas Burke <tom@pstrials.com>; Admin <admin@pstrials.com>;
Mandy Chen <mandy@pstrials.com>
Cc: Joel Rothman <joel@sriplaw.com>; Lindsey Colyer <lindsey.colyer@sriplaw.com>; Lena Carballo Alvisa
<lena.carballo@sriplaw.com>; Oliver Ruiz <oruiz@malloylaw.com>
Subject: RE: Follow Up With Cease & Demand Letters- Ann Marie Bone, Dona Gelsinger, Christopher Golebiowski, G&S
Prints, Francis Minoza, Kenny Osinnowo, and Martina Fichera

FRE 408

Layla,



                                                                       3
  Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 8 of 28

Thanks for your email.




Apparently you have been busy filing complaints in these cases. Please be advised that this office will waive service of
complaints in these matters for SDC and Zoetop. If you insist on personally serving those entities despite my offer (as
you have done previously), then please do at least provide us with courtesy copies, once you have effected
service.


Best regards,
Morgan



Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557



This transmission is from a law firm and may contain information that is privileged, confidential, and protected
by the attorney-client or attorney work product privileges. If you are not the addressee, note that any
disclosure, copying, distribution or use of the contents of this message is prohibited. If you have received this
transmission in error, please destroy it and notify us immediately at the telephone number above.




                                                            4
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 9 of 28




                           Exhibit 2
Case
 Case1:23-cv-20433-RAR
       1:22-cv-23604-KMMDocument
                          Document
                                 14-1
                                   10 Entered
                                      Entered on
                                              on FLSD
                                                 FLSD Docket
                                                      Docket 03/23/2023
                                                             12/13/2022 Page
                                                                        Page 10
                                                                             1 ofof228




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 22-CV-23604-KMM

    DANNY FLYNN,

           Plaintiff,

    v.

    ZOETOP BUSINESS CO., LIMITED, a Hong Kong
    limited company and SHEIN DISTRIBUTION CORP.,
    a Delaware corporation,

          Defendants.
    _______________________________________________/

                           CORPORATE DISCLOSURE STATEMENT

           Pursuant to Fed.R.Civ.P. 7.1, Defendant ZOETOP BUSINESS CO., LIMITED hereby

    discloses that it is a private Hong Kong company with no operating parent company and no

    publicly held corporation owns 10% or more of its stock.

                                                Respectfully submitted,

    Dated: December 13, 2022                    Oliver Alan Ruiz
                                                John Cyril Malloy, III
                                                Florida Bar No. 964,220
                                                jcmalloy@malloylaw.com
                                                Oliver Alan Ruiz
                                                Florida Bar No. 524,786
                                                oruiz@malloylaw.com
                                                Cleo I. Suero
                                                Florida Bar No. 1,024,675
                                                csuero@malloylaw.com
                                                MALLOY & MALLOY P.L.
                                                2800 S.W. Third Avenue
                                                Miami, Florida 33129
                                                Telephone (305) 858-8000

                                                and

                                                Morgan E. Pietz, Pro Hac Vice Pending
                                                morgan@pstrials.com

                                                   1
Case
 Case1:23-cv-20433-RAR
       1:22-cv-23604-KMMDocument
                          Document
                                 14-1
                                   10 Entered
                                      Entered on
                                              on FLSD
                                                 FLSD Docket
                                                      Docket 03/23/2023
                                                             12/13/2022 Page
                                                                        Page 11
                                                                             2 ofof228




                                        Thomas Burke, Pro Hac Vice Pending
                                        tom@pstrials.com
                                        PIETZ & SHAHRIARI, LLP
                                        6700 S. Centinela Ave., 2nd Floor
                                        Culver City, CA 90230
                                        Telephone: (310) 424-5557

                                        Counsel for Defendants




                                          2
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 12 of 28




                            Exhibit 3
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 1
                                                                           13ofof10
                                                                                  28




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 22-CV-23604-KMM

    DANNY FLYNN,

           Plaintiff,

    v.

    ZOETOP BUSINESS CO., LIMITED, a Hong Kong
    limited company and SHEIN DISTRIBUTION CORP.,
    a Delaware corporation,

          Defendants.
    _______________________________________________/

                   DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

           Defendants Zoetop Business Co., Limited (“Zoetop”) and Shein Distribution Corp.

    (“SDC”) (collectively referred to as “Defendants”) hereby answer the Complaint of Plaintiff

    Danny Flynn (“Plaintiff”), raise certain affirmative defenses, and demand trial by jury as

    follows:

                                    JURISDICTION AND VENUE

           1.      Defendants admit that Plaintiff has purported to allege claims for copyright

    infringement under the Copyright Act, but Defendants deny that those claims have merit.

           2.      Defendants admit that this Court has subject matter jurisdiction over this action

    under 28 U.S.C. § 1331 and 1338(a), but Defendants deny that this action has merit.

           3.      Defendants deny that Plaintiff has conclusively established that Defendants are

    subject to personal jurisdiction in Florida, but for purposes of this action only, Defendants do not

    contest personal jurisdiction. Except as expressly admitted or denied, Defendants are without

    knowledge or information sufficient to form a belief as to the truth of the remaining allegations

    in this paragraph, such that the allegations are deemed denied.




                                                     1
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 2
                                                                           14ofof10
                                                                                  28




              4.    Defendants deny that Plaintiff has conclusively established that venue is proper in

    this District, but for purposes of this action only, Defendants do not contest venue is proper.

    Except as expressly admitted or denied, Defendants are without knowledge or information

    sufficient to form a belief as to the truth of the remaining allegations in this paragraph, such that

    the allegations are deemed denied.

                                                  PARTIES

              5.    Defendants admit that Plaintiff has purported to allege claims for copyright

    infringement under the Copyright Act, but Defendants deny that those claims have merit.

              6.    Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

              7.    Zoetop admits it is a Hong Kong limited company; Zoetop denies the remaining

    allegations of this paragraph. SDC is without knowledge or information sufficient to form a

    belief as to the truth of the allegations in this paragraph, such that the allegations are denied.

              8.    SDC admits that it is a Delaware corporation; otherwise denied. Zoetop is without

    knowledge or information sufficient to form a belief as to the truth of this allegation, such that

    this allegation is denied.

              9.    SDC admits to doing business in the United States as “Shein”; as to Zoetop,

    denied. Except as expressly admitted or denied, Defendants are without knowledge or

    information sufficient to form a belief as to the truth of the remaining allegations in this

    paragraph, such that the allegations are deemed denied.

              10.   Zoetop admits it was founded in 2008; as to SDC, denied. Except as expressly

    admitted or denied, Defendants are without knowledge or information sufficient to form a belief

    as to the truth of the remaining allegations in this paragraph, such that the allegations are deemed

    denied.


                                                       2
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 3
                                                                           15ofof10
                                                                                  28




           11.     Denied.

           12.     Denied.

           13.     Denied.

           14.     Denied.

                               THE COPYRIGHTED WORK AT ISSUE

           15.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           16.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           17.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           18.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

                                 INFRINGEMENT BY DEFENDANTS

           19.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           20.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           21.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           22.     Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

           23.     Denied.

           24.     Denied.


                                                      3
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 4
                                                                           16ofof10
                                                                                  28




              25.   Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

              26.   Denied.

              27.   Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

              28.   Defendants admit that they received correspondence from Plaintiff; otherwise

    denied.

                                                   COUNT I

                                     COPYRIGHT INFRINGEMENT

              29.   To the extent this paragraph requires an answer, Defendants respond to each

    allegation as set forth above.

              30.   Defendants are without knowledge or information sufficient to form a belief as to

    the truth of this allegation, such that this allegation is deemed denied.

              31.   Denied.

              32.   Denied.

              33.   Denied.

              34.   Denied.

              35.   Denied.

                                          PRAYER FOR RELIEF

              36.   To the extent Defendants are required to respond to the prayer for relief, Defendants

    deny that Plaintiff is entitled to the relief sought in paragraphs a. to f. of the prayer for relief or to

    any relief whatsoever.




                                                        4
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 5
                                                                           17ofof10
                                                                                  28




                                            GENERAL DENIAL

           37.     Defendants hereby deny each and every allegation, claim, or prayer for relief

    except as expressly admitted herein and demand strict proof thereof.



                                       AFFIRMATIVE DEFENSES

           For their affirmative defenses, and without altering any applicable burdens, Defendants

    allege that Plaintiff’s claims are barred, in whole, or in part, as follows:

                                          FIRST DEFENSE:
                                   Independent Creation / No Copying

           38.     To the extent that Plaintiff’s allegedly original design at issue (the “Copyright In

    Suit”) is similar to Defendants’ products, any such similarities are not the result of any actual

    copying of Plaintiff’s design by Defendants or their agents. Rather, on information and belief, the

    designs appearing on products allegedly sold by Defendants were independently created by

    Defendants’ vendors, or their upstream suppliers, designers, agents, or factories, based on

    preexisting, public-domain materials.

                                        SECOND DEFENSE:
                                 Knowledge, Consent, and Acquiescence

           39.     On information and belief, Plaintiff’s claims are barred in whole or in part by

    Plaintiff’s knowledge, consent, and acquiescence, with respect to the alleged infringement, which

    Plaintiff was aware of and in fact took steps to help facilitate.

                                            THIRD DEFENSE:
                                            Failure to Mitigate

           40.     On information and belief, Plaintiff’s claims are barred in whole or in part because

    Plaintiff was aware that the allegedly original copyrighted design it purports to own was being




                                                       5
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 6
                                                                           18ofof10
                                                                                  28




    allegedly infringed online, and purposefully avoided taking steps that might mitigate the spread of

    infringement.

                                          FOURTH DEFENSE:
                                           Misuse of Copyright

           41.      On information and belief, Plaintiff’s claims are barred in whole or in part because

    Plaintiff’s tactics of permitting or inducing—and then aggressively policing—infringements

    constitute copyright misuse.     The defense of misuse “need not even be grounded in anti-

    competitive behavior and extends to any situation implicating ‘the public policy embodied in the

    grant of a copyright.’” Disney Enters., Inc. v. Redbox Automated Retail, LLC, No. 17-cv-08655-

    DDP(AGRx), slip op. at 16-17 (C.D. Cal. Feb. 20, 2018) (order denying motion for preliminary

    injunction) (quoting Omega S.A. v. Costco Wholesale Corp., 776 F.3d 692, 699-700 (9th Cir. 2015)

    (Wardlaw, J. concurring)).

           42.      The underlying policy of copyright law’s “statutory monopoly” recognizes that

    “private motivation must ultimately serve the cause of promoting broad public availability of

    literature, music, and the other arts.” Twentieth Century Music Corp. v. Aiken, 422 U.S. 151, 156

    (1975). While copyright plaintiffs enjoy a limited monopoly over their works, the use of

    infringement lawsuits as a business model reduces the choices available to consumers, frustrating

    the policy goals of copyright.

                                           FIFTH DEFENSE:
                                            Intervening Acts

           43.      On information and belief, Plaintiff’s claims are barred in whole or in part because

    the damages complained of were the result of intervening actions of others and were not

    proximately caused by the actions or omissions of Defendants.




                                                     6
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 7
                                                                           19ofof10
                                                                                  28




                                           SIXTH DEFENSE:
                                             Innocent Intent

                                          [17 U.S.C. § 504(c)(2)]

           44.     Plaintiff’s damages, if any, are limited because Defendants were not aware and had

    no reason to believe that their acts constituted an infringement of copyright.

                                         SEVENTH DEFENSE:
                                              Fair Use

           45.     Plaintiff’s claims are barred in whole or in part by the doctrine of fair use in that

    the subject garment designs sold by Defendants were transformative and constitute new and unique

    artistic expressions as compared to the original elements, if any, of the Copyright In Suit.

                                         EIGHTH DEFENSE:
                                        De Minimis Infringement

           46.     Plaintiff’s claims are barred in whole or in part because any copying of original

    elements or other violations of rights which may have occurred was de minimis.

                                           NINTH DEFENSE:
                     Failure to State a Claim Upon Which Relief Can be Granted
                                        [Fed. R. Civ. P. 12(b)(6)]

           47.     Plaintiff has failed to state a claim upon which relief can be granted.

                                           TENTH DEFENSE:
                                 Failure to Join a Party Under Rule 19
                                        [Fed. R. Civ. P. 12(b)(7)]

           48.     On information and belief, Plaintiff may have failed to join a required party,

    however, the identity of such a party is presently unknown to Defendants.




                                                     7
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 8
                                                                           20ofof10
                                                                                  28




                                        ELEVENTH DEFENSE:
                                       Lack of Volitional Conduct

           49.     Plaintiffs’ claims are barred because the alleged infringement was not caused by a

    volitional act attributable to Defendants.

                                         TWELFTH DEFENSE:
                                          Statute of Limitations

           50.     Plaintiff’s claims are barred in whole or in part to the extent they were brought

    after the expiration of the applicable statutes of limitations. See U.S.C.A. § 507(b).

                                       THIRTEENTH DEFENSE:
                                          Doctrine of Laches

           51.      “[I]n extraordinary circumstances, laches may, at the very outset of the litigation,

    curtail the relief equitably awarded. For example, where owners of a copyrighted architectural

    design, although aware of an allegedly infringing housing project, delayed suit until the project

    was substantially constructed and partially occupied, an order mandating destruction of the

    project would not be tolerable. [Citation omitted]. Nor, in the face of an unexplained delay in

    commencing suit, would it be equitable to order “total destruction” of a book already printed,

    packed, and shipped. [Citation omitted.]” Petrella v. Metro-Goldwyn-Mayer, Inc. (2014) 572

    U.S. 663, 665-66.

           52.     On information and belief, Plaintiff’s claims are barred in whole or in part by the

    Doctrine of Laches because Plaintiff routinely made purchases, and in some instances, purchases

    were made many years in advance of serving a cease-and-desist letter, filing suit, or otherwise

    giving notice to Defendants by Plaintiff.




                                                     8
Case
 Case1:23-cv-20433-RAR
      1:22-cv-23604-KMMDocument
                        Document14-1
                                 17 Entered on FLSD Docket 01/23/2023
                                                           03/23/2023 Page 9
                                                                           21ofof10
                                                                                  28




                                      FOURTEENTH DEFENSE:
                                           Equitable Estoppel

           53.     On information and belief, Plaintiff knew, should have known, or was willfully

    blind to the facts of Defendants’ allegedly infringing conduct.

           54.     On information and belief, Plaintiff intended that its conduct be acted upon, or it

    acted so that Defendants, and each of them, had a right to believe that Plaintiff intended for its

    conduct to be acted upon. Specifically, Plaintiff, or his agents, induced the infringement of his

    copyrighted designs by actively trying to ensure that his designs were made available online,

    without attribution or copyright notice, and distributed throughout the world, so that the designs

    could then serve as the basis for copyright lawsuits when products bearing the designs were

    imported and sold in United States. Or, at the very least, Plaintiff failed to take appropriate and

    reasonable action, for a prolonged period of time, that would have helped stop dissemination of

    Plaintiff’s supposedly proprietary and original designs into marketplace.

           55.     Defendants were ignorant of the true facts of Plaintiff’s inducement, inaction, and

    other conduct.

           56.     Defendants relied upon Plaintiff’s inducement, inaction, and other conduct to their

    injury.

                                      ADDITIONAL DEFENSES:

           57.     Defendants reserve the right to supplement or amend this Answer, including

    through the addition of further affirmative defenses, based upon the course of discovery and

    proceedings in this action.

           WHEREFORE, Defendants hereby pray that Plaintiff takes nothing on its complaint and

    that Defendants recovers their costs, including attorney’s fees under the Copyright Act, and such

    other further relief as the Court may deem just and proper.


                                                     9
Case
Case1:23-cv-20433-RAR
     1:22-cv-23604-KMM Document
                        Document14-1
                                 17 Entered
                                     Enteredon
                                             onFLSD
                                                FLSDDocket
                                                    Docket01/23/2023
                                                           03/23/2023 Page
                                                                      Page10
                                                                           22of
                                                                              of10
                                                                                 28




                                   DEMAND FOR JURY TRIAL

           Defendants hereby demand a jury trial on all issues so triable, per Fed. R. Civ. P. 38 and

    the Seventh Amendment to the U.S. Constitution.

                                                 Respectfully submitted,

    Dated: January 23, 2023                      Oliver Alan Ruiz
                                                 John Cyril Malloy, III
                                                 Florida Bar No. 964,220
                                                 jcmalloy@malloylaw.com
                                                 Oliver Alan Ruiz
                                                 Florida Bar No. 524,786
                                                 oruiz@malloylaw.com
                                                 Cleo I. Suero
                                                 Florida Bar No. 1,024,675
                                                 csuero@malloylaw.com
                                                 MALLOY & MALLOY P.L.
                                                 2800 S.W. Third Avenue
                                                 Miami, Florida 33129
                                                 Telephone (305) 858-8000

                                                 and

                                                 Morgan E. Pietz, Pro Hac Vice Pending
                                                 morgan@pstrials.com
                                                 Thomas P. Burke Jr., Pro Hac Vice Pending
                                                 tom@pstrials.com
                                                 PIETZ & SHAHRIARI, LLP
                                                 6700 S. Centinela Ave., 2nd Floor
                                                 Culver City, CA 90230
                                                 Telephone: (310) 424-5557

                                                 Counsel for Defendants




                                                   10
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 23 of 28




                            Exhibit 4
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 24 of 28




                                                                                                                                                  B0964-9221 07/29/2022 6:17 PM Received by California Secretary of State
                                                                                                                             BA20220593801

                          STATE OF CALIFORNIA                                                                       For Office Use Only
                          Office of the Secretary of State
                          STATEMENT OF INFORMATION                                                                   -FILED-
                          CORPORATION
                          California Secretary of State                                                     File No.: BA20220593801
                          1500 11th Street                                                                  Date Filed: 7/29/2022
                          Sacramento, California 95814
                          (916) 653-3516



Entity Details
  Corporation Name                                                         SHEIN DISTRIBUTION CORPORATION
  Entity No.                                                               4747980
  Formed In                                                                DELAWARE
Street Address of Principal Office of Corporation
  Principal Address                                                        757 S ALAMEDA ST STE 220
                                                                           LOS ANGELES, CA 90021
Mailing Address of Corporation
  Mailing Address                                                          757 S ALAMEDA ST STE 220
                                                                           LOS ANGELES, CA 90021
  Attention
Street Address of California Office of Corporation
  Street Address of California Office                                      None
Officers

                 Officer Name                                Officer Address                                       Position(s)

   Valerie Ho                            757 S ALAMEDA ST STE 220                                  Secretary
                                         LOS ANGELES, CA 90021
    − Bruce Xia                          757 S ALAMEDA ST STE 220                                  Chief Financial Officer
                                         LOS ANGELES, CA 90021
   GEORGE CHIAO                          757 S ALAMEDA ST STE 220                                  Chief Executive Officer
                                         LOS ANGELES, CA 90021
    + Amanda Cui                         757 S ALAMEDA ST STE 220                                  Chief Financial Officer
                                         LOS ANGELES, CA 90021


Additional Officers

                 Officer Name                        Officer Address                    Position                    Stated Position

                                                                  None Entered


Agent for Service of Process
  California Registered Corporate Agent (1505)                             PARACORP INCORPORATED
                                                                           Registered Corporate 1505 Agent
Type of Business
  Type of Business                                                         RETAIL SALES
Email Notifications
  Opt-in Email Notifications                                               Yes, I opt-in to receive entity notifications via email.
Labor Judgment
  No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
  order or provision of the Labor Code.




                                                                                                                                          Page 1 of 2
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 25 of 28




                                                                                                                                          B0964-9222 07/29/2022 6:17 PM Received by California Secretary of State
Electronic Signature

       By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.


  Valerie Ho, Secretary                                               07/29/2022
  Signature                                                           Date




                                                                                                                                  Page 2 of 2
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 26 of 28




                            Exhibit 5
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 27 of 28




                                                                                                                                                 B1070-0997 09/01/2022 4:27 PM Received by California Secretary of State
                                                                                                                            BA20220792936

                         STATE OF CALIFORNIA                                                                       For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                                   -FILED-
                         CORPORATION
                         California Secretary of State                                                     File No.: BA20220792936
                         1500 11th Street                                                                  Date Filed: 9/1/2022
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Corporation Name                                                        SHEIN DISTRIBUTION CORPORATION
  Entity No.                                                              4747980
  Formed In                                                               DELAWARE
Street Address of Principal Office of Corporation
  Principal Address                                                       757 S ALAMEDA ST STE 340
                                                                          LOS ANGELES, CA 90021
Mailing Address of Corporation
  Mailing Address                                                         757 S ALAMEDA ST STE 340
                                                                          LOS ANGELES, CA 90021
  Attention
Street Address of California Office of Corporation
  Street Address of California Office                                     None
Officers

                  Officer Name                                  Officer Address                                    Position(s)

     • Amanda Cui                             757 S ALAMEDA ST STE 340                              Chief Financial Officer
                                              LOS ANGELES, CA 90021
     • Valerie Ho                             757 S ALAMEDA ST STE 340                              Secretary
                                              LOS ANGELES, CA 90021
     • GEORGE CHIAO                           757 S ALAMEDA ST STE 340                              Chief Executive Officer
                                              LOS ANGELES, CA 90021


Additional Officers

                 Officer Name                        Officer Address                   Position                    Stated Position

                                                                  None Entered


Agent for Service of Process
  California Registered Corporate Agent (1505)                            PARACORP INCORPORATED
                                                                          Registered Corporate 1505 Agent
Type of Business
  Type of Business                                                        RETAIL SALES
Email Notifications
  Opt-in Email Notifications                                              Yes, I opt-in to receive entity notifications via email.
Labor Judgment
  No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
  order or provision of the Labor Code.




                                                                                                                                         Page 1 of 2
Case 1:23-cv-20433-RAR Document 14-1 Entered on FLSD Docket 03/23/2023 Page 28 of 28




                                                                                                                                          B1070-0998 09/01/2022 4:27 PM Received by California Secretary of State
Electronic Signature

       By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.


  Valerie Ho, Secretary                                               09/01/2022
  Signature                                                           Date




                                                                                                                                  Page 2 of 2
